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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

 ANAS ELHADY, et al.,                                     )
                                                          )       Case No. 16-cv-00375
         Plaintiffs,                                      )       Hon. Anthony J. Trenga
                                                          )
 v.                                                       )
                                                          )
 CHARLES H. KABLE, Director of the                        )
 Terrorist Screening Center; in his official              )
 capacity, et al.;                                        )
                                                          )
         Defendants.                                      )
 _______________________________________________________________________________________________________

      RESPONSE TO DEFENDANTS’ MOTION TO PARTIALLY VACATE THE COURT’S
                          DECEMBER 18TH ORDER

         Plaintiffs, by and through the undersigned counsel, hereby file their response to

 Defendants’ Motion to Partially Vacate the Court’s December 18 th Order. That Order, which

 certified for interlocutory appeal the Court’s “declaratory judgment and declaration of

 rights,” has substantial and complex strategic implications for the remainder of this novel

 legal matter, implications that Plaintiffs’ legal team continues to study and debate internally.

 When counsel for Defendants met and conferred with Plaintiffs’ counsel on December 20,

 2019 to discuss their Motion to Partially Vacate, Plaintiffs’ counsel indicated that their

 position may evolve upon further deliberation. Defendants did accurately reflect Plaintiffs’

 position at the time of filing, but Plaintiffs file this response to revise their position.

         Plaintiffs now concur with Defendants’ motion to partially vacate the Court’s Final

 Order certifying for interlocutory appeal the Court’s declaration of rights pursuant to 28

 U.S.C. § 1292(b). While counsel for Plaintiffs’ continue to assess the Court’s December 18 th

 Order, it appears that substantial issues will remain pending before this Court—including



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 matters related to the scope of injunctive and declaratory relief granted. Some of those

 matters are likely to evolve substantially subsequent to the 10-day window for the

 interlocutory appeal which, Plaintiffs suggest, is good cause to provide additional time for

 the legal issues to resolve prior to setting the case up for an appeal by one or both sides.


                                             Respectfully submitted,

                                             COUNCIL ON AMERICAN-ISLAMIC RELATIONS

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 Dated: December 26, 2019




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 3, 2018, I electronically filed the foregoing by using the

 Court’s ECF system. I further certify that all participants in the case are registered ECF users

 and will be electronically served by the Court’s ECF notification system.

                                                    Respectfully submitted,

                                                    COUNCIL ON AMERICAN-ISLAMIC
                                                    RELATIONS

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